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                                  5                         IN THE UNITED STATES DISTRICT COURT
                                  6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                  8      SARAH RUBIN,                                 Case No. 22-cv-02474-CRB
                                  9                   Plaintiff,
                                                                                      ORDER ADOPTING REPORT AND
                                  10            v.                                    RECOMMENDATION AND
                                                                                      REMANDING CASE
                                  11     LADY BENJAMIN CANNON,
                                                      Defendant.
Northern District of California




                                  12
 United States District Court




                                  13         Pro se Defendant Lady Benjamin Cannon removed this case from state court
                                  14   asserting diversity jurisdiction under 28 U.S.C. § 1332(a). Chief Magistrate Judge Spero
                                  15   ordered her to show cause why the case should not be remanded sua sponte for failure to
                                  16   establish the requisite amount in controversy. Order to Show Cause (dkt. 4). Cannon did
                                  17   not respond. On June 7, 2022, Chief Magistrate Judge Spero therefore issued a report and
                                  18   recommendation concluding that the case should be remanded to state court and denying
                                  19   Plaintiff Rubin’s request for attorneys’ fees. See Report and Recommendation (dkt. 11).
                                  20   The case was then reassigned to the undersigned judge. Dkt. 12. Cannon did not file an
                                  21   objection to the report and recommendation by the deadline of June 21.
                                  22         Because Chief Magistrate Judge Spero’s report and recommendation is well-
                                  23   reasoned, thorough, and correct, the Court adopts it in full. The Court REMANDS this
                                  24   case to California Superior Court for the County of San Francisco, where it was assigned
                                  25   case number CGC-21-590125.
                                  26         IT IS SO ORDERED.
                                  27         Dated: June 24, 2022
                                                                                      CHARLES R. BREYER
                                  28                                                  United States District Judge
